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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

WORLDWIDE AIRCRAFT SERVICES,
INC., d/b/a JET I.C.U.

               Plaintiff,                          CASE NO.:

vs.

CIGNA HEALTH AND LIFE
INSURANCE COMPANY and
OPPENHEIMER & CO., INC.,
EMPLOYEE BENEFIT PLAN

            Defendants.
___________________________________/



                                          COMPLAINT

                                 STATEMENT OF THE CASE

       1.      This is an action for damages, equitable relief and attorney fees and costs under

the Employee Retirement Income Security Act of 1974, as amended (ERISA), 29 U.S.C. § 1001,

et seq., specifically 29 U.S.C. § 1132(a)(1)(b).

                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction of Plaintiff’s federal law claims pursuant to 28 U.S.C.

§§ 1331 and 1337, as well as 29 U.S.C. § 1132(e).

       3.      Venue is proper in this district, pursuant to 28 U.S.C. § 1391(b) and (c), as well as

29 U.S.C. § 1132(e)(2), because this district is where the breach took place, the defendant(s)

reside or may be found, defendant(s) do business in the state, and/or federal statute authorizes

nationwide process be served in any districts where defendant(s) may reside or may be found.
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                         PARTIES AND GENERAL ALLEGATIONS

       4.      At all times relevant hereto the Plaintiff, WORLDWIDE AIRCRAFT SERVICES

INC. d/b/a/ JET I.C.U. (hereinafter “JET ICU”), was and continues to be a duly authorized

provider, both domestically and internationally, of medical air transport services.

       5.      At all times relevant hereto the Insured, J.N., was an employee of Oppenheimer &

Co. Inc. (hereinafter “OPPENHEIMER”), his employer, as those terms are defined in 29 U.S.C.

§§ 1002(5) and (6).

       6.      At all times relevant hereto J.N.’s employer, Oppenheimer, was the plan

“sponsor” as these terms are defined by 29 U.S.C. § 1002(16)(A) and (B).

       7.      J.N., was covered under the OPPENHEIMER & CO., INC., EMPLOYEE

BENEFIT PLAN, an Employee Welfare Benefit Plan that included health insurance benefits

(hereinafter “THE PLAN”).

       8.       At all times relevant hereto J.N. was a participant in and a beneficiary of THE

PLAN, and health insurance premiums required under THE PLAN had been fully paid or

otherwise satisfied.

       9.      At all times relevant hereto Defendant, CIGNA HEALTH AND LIFE

INSURANCE COMPANY (hereinafter “CIGNA”), was the plan “administrator” of THE PLAN,

and a “fiduciary” as those terms are defined by 29 U.S.C. §§ 1002 (16) and (21).

       10.     On or about March 17, 2017, J.N. suffered a life-threatening injury while in the

Canary Islands, Spain.

       11.     On or about March 27, 2017, JET ICU provided J.N. emergent air medical

transport services from Tenerife, Canary Islands, Spain to Philadelphia, Pennsylvania.




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          12.   J.N.’s medical benefits under THE PLAN, including air ambulance benefits, were

assigned to JET ICU as J.N.’s beneficiary.

          13.   At all times relevant hereto the business practices of CIGNA created a conflict of

interest between its fiduciary duties to Plaintiff and its interest in maximizing profits.

          14.   At all times relevant hereto THE PLAN provided for payment of health benefits

and insurance, including air medical transport services, under the terms of THE PLAN.

          15.   CIGNA made the final decision to deny benefits under THE PLAN.

          16.   Plaintiff and J.N. has filed, or caused to be filed, proofs of claim and performed

all other conditions precedent to recovering benefits under THE PLAN for the loss or losses

herein claimed and has exhausted all appropriate administrative remedies prior to filing this

action.

                                         COUNT ONE
                                Action to Recover Plan Benefits
                              Pursuant to 29 U.S.C. § 1132(a)(1)(B)
                                        Against CIGNA

          17.   Plaintiff realleges and re-avers paragraphs 1 through 16 of the Complaint,

incorporating them by reference herein as if specifically restated.

          18.   Defendants, CIGNA and THE PLAN, have failed and refused to pay Plaintiff

sums due pursuant to the terms of THE PLAN.

          19.   Plaintiff is entitled to recover attorney’s fees and costs of litigation as authorized

by 29 U.S.C. § 1132(g).

          WHEREFORE, Plaintiff requests that this Honorable Court enter an order granting

relief from Defendant for benefits due under THE PLAN, together with costs of litigation and

attorney’s fees and pre-judgment interest.




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                                         COUNT TWO
                        Action to Clarify Right to Receive Plan Benefits
                             Pursuant to 29 U.S.C. § 1132(a)(1)(B)
                                        Against CIGNA

       20.     Plaintiff realleges and re-avers paragraphs 1 through 16 of the Complaint,

incorporating them by reference herein as if specifically restated.

       21.     Plaintiff is entitled to benefits under THE PLAN.

       22.     Defendants, CIGNA and THE PLAN, have denied that Plaintiff is entitled to

benefits under THE PLAN.

       23.     Plaintiff is entitled to recover attorney’s fees and costs as authorized by 29 U.S.C.

§ 1132(g).

       WHEREFORE, Plaintiff requests that this Honorable Court enter an order declaring

their rights to reinstatement under THE PLAN and to future benefits under THE PLAN, pursuant

to 29 U.S.C. § 1132(a)(1)(B) and award attorney’s fees and costs of litigation pursuant to 29

U.S.C. § 1132(g).

       Dated this 1st day of July, 2019.



                                                      s/Paul S. Kimsey
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